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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
In re:                                                             Chapter 11
                                                                   Case No. 22-42314-NHL

THE MUSE BROOKLYN INC

                                    Debtor.
-------------------------------------------------------------X


                   STIPULATION, AGREEMENT AND ORDER GRANTING
                         RELIEF FROM THE AUTOMATIC STAY

                 IT IS STIPULATED AND AGREED, this 21st day of November, 2022, by and

between The Muse Brooklyn, Inc, the Chapter 11 Debtor and Debtor in Possession herein (the

“Debtor”) and Moffat Holding, LLC (hereinafter sometimes referred to collectively as the

“Parties”) as follows:

                 WHEREAS, this case was commenced by the filing of a Voluntary Petition for

relief under Subchapter V of Chapter 11 of the United States Bankruptcy Code on September 21,

2022 (the “Filing Date”); and

                  WHEREAS, Gerard Luckman, Esq. was appointed Sub Chapter V Trustee in

this case; and

                 WHEREAS, no creditors’ committee has been appointed by the Office of the

United States Trustee, and there have been no motions for the appointment of a trustee or

examiner; and

                 WHEREAS, Moffat Holding, LLC is the landlord of the Debtor’s premises located

at 338 Moffat Street, Brooklyn, New York 11237 (the “Building”); and

                 WHEREAS, the Debtor is the tenant lessee of the Building; and
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              WHEREAS, Moffat Holding, LLC alleges that it is owed arrears under both the

lease and for the Debtor’s use and occupancy of the Building in the sum of $440,691.02; and

              WHEREAS, the Debtor disputes the amount owed to Moffat Holdings; LLC

and

              WHEREAS, Moffat Holdings, LLC commenced a Landlord Tenant Proceeding

entitled Moffat Holdings, LLC v. The Muse Brooklyn, Inc. in Civil Court, State of New York,

County of Kings under LT-312061-21/KI (the “Landlord Tenant Action”) seeking to evict the

Debtor from the Building; and

              WHEREAS; the Landlord Tenant Action was subsequently stayed by the

Debtor’s Chapter 11 filing on September 21, 2022; and

              WHEREAS, subsequent thereto, the Parties reached an amicable resolution of the

Landlord Tenant Action; and

              WHEREAS, the Parties to this Stipulation Agreement agree that it is appropriate

to enter a limited modification of    the automatic stay for the sole purpose of having the

Stipulation and Order settling the Landlord Tenant Action approved by the Bankruptcy Court

under Bankruptcy Rules 2002(a)(3) and 9019 and thereafter having the Stipulation settling the

Landlord Tenant Action filed with the State Court.

              NOW, THEREFORE, IT IS HEREBY STIPULATED, AGREED AND

ORDERED AS FOLLOWS:

              1.   The automatic stay under 11 U.S.C. Section 362 is modified with respect to

the Landlord Tenant Action for the exclusive purpose of permitting the Parties to file the

Stipulation settling the Landlord Tenant Action with the State Court, once the Parties have
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obtained Bankruptcy Court approval of the Stipulation pursuant to Bankruptcy Rules 2002(a)(3)

and 9019.

                2.     Except as expressly provided in this Stipulation, the automatic stay remains in

effect in this case.

                3.     The Parties are authorized to take any and all actions necessary to carry out

the terms of this Stipulation and Order.

                 4.         This Stipulation may not be altered, modified or changed in any manner

unless in a writing signed by the parties hereto.

                5.       This Stipulation may be executed in counterparts, each of which when

executed and delivered in original or electronic form shall constitute the respective party’s

agreement hereto and, all of which when taken together, shall constitute one and the same

agreement. An executed copy of this Stipulation via electronic (email) transmission or facsimile

shall have the same force and effect as an original.

              6. The terms and conditions herein are subject to approval by the Bankruptcy Court.

If this Stipulation is not approved by the Bankruptcy Court in its entirety, it shall be null and void

and shall not be referred to or used for any purpose by any of the parties hereto. Nothing contained

herein shall be deemed an admission by a party hereto and is without prejudice to any and all rights

and remedies of any party hereto.




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        7. Counsel for each party aver that they have full authority to execute this Stipulation on

behalf of their respective client.


Dated: Melville, New York
       November 21st, 2022                             LAW OFFICE OF RONALD D. WEISS,
                                                      Attorneys for Debtor

                                               By:     /s/ Michael A. Farina
                                                      Michael A. Farina
                                                      734 Walt Whitman Road
                                                      Melville, NY 11747
                                                      (631) 271-3737

Dated: New York, New York
       November 21st, 2022                            KUCKER MARINO et. al.
                                                      Attorneys for Moffat Holding, LLC

                                               By:     /s/ Lisa Faham Selzer
                                                      Lisa Faham Selzer
                                                      747 Third Avenue
                                                      12th Floor
                                                      New York, NY 1017

IT IS SO ORDERED:




 Dated: November 22, 2022                                       ____________________________
        Brooklyn, New York                                            Nancy Hershey Lord
                                                                 United States Bankruptcy Judge
